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                                         Case No. 23-5600

                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT

                                              ORDER

L. W., by and through her parents and next friends, Samantha Williams and Brian Williams;
SAMANTHA WILLIAMS; BRIAN WILLIAMS; JOHN DOE, by and through his parents and
next friends, Jane Doe and James Doe; JANE DOE; JAMES DOE; REBECCA ROE; SUSAN N.
LACY, on behalf of herself and her patients; RYAN ROE, by and through his parent and next
friend, Rebecca Roe

             Plaintiffs - Appellees

UNITED STATES OF AMERICA

             Intervenor - Appellee

v.

JONATHAN THOMAS SKRMETTI, in his official capacity as the Tennessee Attorney General
and Reporter, et al.

             Defendants - Appellants



BEFORE: SUTTON, Chief Circuit Judge; WHITE and THAPAR, Circuit Judges.

       UPON CONSIDERATION of America First Legal Foundation’s unopposed motion for
leave to file an amicus brief in support of the motion for stay,

       IT IS ORDERED that the motion is GRANTED.


                                                  ENTERED BY ORDER OF THE COURT
                                                  Deborah S. Hunt, Clerk


Issued: July 07, 2023
                                                  ___________________________________
